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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )
                                       )
      v.                               )                 Case No. 05-20017-01 JWL
                                       )
FIDENCIO VERDIN-GARCIA                 )
                                       )
                 Defendant.            )
                                       )
______________________________________ )


                            MEMORANDUM AND ORDER

       In March of 2006, a jury found Fidencio Verdin-Garcia guilty of committing

various drug trafficking offenses. The Court sentenced Mr. Verdin-Garcia to a lifetime

term of imprisonment, and the Tenth Circuit affirmed his conviction and sentence on

February 29, 2008. Mr. Verdin-Garcia petitioned the United States Supreme Court for a

writ of certiorari, which was denied on October 15, 2008. Consequently, on September

18th, 2009, Fidencio Verdin-Garcia filed a petition to vacate, set aside, or correct his

sentence under 28 U.S.C. § 2255. This matter is presently before the Court on Mr.

Verdin-Garcia’s motion to file an amended § 2255 petition pursuant to Fed.R.Civ.P.

15(a) and (d). For the reasons set forth below, the Court grants Mr. Verdin-Garcia’s

motion but notes that that it will consider only those amendments which do not attempt to

assert new claims or theories of relief.
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       Mr. Verdin-Garcia seeks to amend his petition under Fed. R. Civ. P. 15, claiming

that he should be permitted to “supplement” his § 2255 petition with “supporting case

law and legal authorities” and because “new issues of constitutional magnitude have

recently developed,” based upon evolving Supreme Court precedent.1 This Court

generally “should freely grant leave to amend when justice so requires.” United States v.

Ohiri, 133 Fed. App’x 555, 559 (10th Cir. 2005) (quoting Gilette v. Tansy, 17 F.3d 308

(10th Cir. 1994)).


       Fed. Rule Civ. P. 15 will govern Mr. Verdin-Garcia’s motion to amend so long as

the motion was filed within the one-year limitations period that is applicable to the filing

of § 2255 petitions. Id. See also 28 U.S.C. § 2255(f) (setting forth the limitations

period). The one-year limitations period begins to run from the latest of various

occurrences set forth in § 2255(f), including the date upon which the judgment of

conviction becomes final. As Mr. Verdin-Garcia directly appealed his conviction, the

judgment of conviction became final on October 15, 2008, the date on which the United

States Supreme Court denied his petition for a writ of certiorari. See Griffith v. Kentucky,

479 U.S. 314, 321 n. 6 (1987) (noting that a final judgment is one in which “a judgment

of conviction has been rendered, the availability of appeal exhausted, and the time for a

petition for certiorari elapsed or a petition for certiorari finally denied”). The one-year

limitations period therefore ended on October 15, 2009. Mr. Verdin-Garcia timely filed

his original § 2255 petition, as it was filed on September 18, 2009. However, his motion

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 Mr. Verdin-Garcia does not point to the occurrence of a particular event after filing the
original § 2255 petition which would warrant supplementing the petition.
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to amend the original petition was not filed until December 15, 2009, the date on which

Mr. Verdin-Garcia gave the motion and amended petition to prison officials for mailing.

See Burger v. Scott, 317 F.3d 1133, 1136 n. 3 (10th Cir. 2003) (citing Houston v. Lack,

487 U.S. 266, 276 (1988)) (stating that a § 2255 petition is deemed filed on the date it is

delivered to prison officials for mailing). Therefore, the motion to amend was not filed

within the one year-limitations period.


       An untimely amendment to a § 2255 petition “which, by way of additional facts,

clarifies or amplifies a claim or theory in the original motion” may, in the district court’s

discretion, relate back to the date of the original motion, but only if (1) the original §

2255 petition was timely filed and (2) the proposed amendment “does not seek to add a

new claim or to insert a new theory into the case.” Ohiri, 133 Fed. App’x at 559 (quoting

United States v. Espinoza-Saenz, 235 F.3d 501, 505 (10th Cir. 2000)). The Tenth Circuit

has explained that this restriction upon amendment of a § 2255 petition is to prevent a

defendant challenging his conviction from undermining the one-year limitations period

chosen by Congress by alleging new claims of error after the expiration of the limitations

period. Espinoza-Saenz, 235 F.3d at 505. As Mr. Verdin-Garcia did not timely file the

motion to amend or supplement the petition, the Court will consider the amended petition

only to the extent that it clarifies Mr. Verdin-Garcia’s prior claims, and will not consider

any claims that the Court deems to be “separate and distinct” from those raised in the

original § 2255 petition. See id. Moreover, the government will be given until January
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28, 2009 to file any response that it may have to Mr. Verdin-Garcia’s amended petition.

Mr. Verdin-Garcia will then have until February 28, 2009 to file a reply.


      IT IS THEREFORE ORDERED BY THE COURT that Mr. Verdin-Garcia’s

motion to supplement or amend his motion to vacate, set aside, or correct his sentence

under 28 U.S.C. § 2255 (doc. # 313) is granted, that the government will file any

response it may have to Mr. Verdin-Garcia’s amended petition by January 28, 2010, and

that Mr. Verdin-Garcia will file any subsequent reply by February 28, 2010.


      IT IS SO ORDERED this 29th day of December, 2009.

                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge
